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 1                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF CALIFORNIA
 2                                    SACRAMENTO DIVISION
 3
     UNITED STATES OF AMERICA,                    ) No. CASE NO. Cr.S-07-248-WBS-DAD
 4                                                )
                    Plaintiff,                    )
 5      vs.                                       ) ORDER
                                                  )
 6   OSCAR CAMPOS-PADILLA                         )
                                                  )
 7                  Defendant.                    )
                                                  )
 8

 9   GOOD CAUSE SHOWN,
10            IT IS HEREBY ORDERED that Defendant Oscar Campos-Padilla is allowed to travel to
11   La Grande, CA on Friday, July 17th, 2009 and returning Sunday, July 19th, 2009. Prior to leaving
12
     the Defendant shall provide a detailed travel itinerary to U.S. Pre-Trial Services Laura Weigel.
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14
     SO ORDERED.
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     Dated July 17, 2009
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     SFI-579462v1                                     2
